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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr268
                                     )   Hon. Carl J. Nichols
JEFFREY McKELLOP,                    )
      Defendant.                     )
____________________________________)

                        ADDENDUM TO SECOND MOTION FOR
                      RECONSIDERATION OF PRE TRIAL RELEASE

       Comes now Defendant Jeffrey McKellop, by counsel, and augments his Second Motion

for Reconsideration of Pretrial Release (Doc 125).

       The government in its Opposition (Doc 132) noted that Defendant’s cell was searched

last summer pursuant to an investigation of Defendant for possible Contempt. Defendant has not

been charged with any crime consequent to the investigation. During the search, federal agents

seized some 70 documents largely comprising notes generated by Defendant consequent to his

review of discovery. These notes, seized over six months ago and produced for the specific

purpose of assisting in his own defense, have yet to be returned.

       The repeated measures by which the jail staff has prevented Defendant’s access to his

own discovery have precluded his replicating the seized notes. These measures have not only

rendered impossible any reasonable semblance of assisting in the preparation of his trial defense,

they have materially diminished Defendant’s ability meaningfully to treat with the government

regarding any resolution of this case by agreement. Deprived of the benefit of his counsel’s

review of his notes, Defendant was unable today to meet a deadline imposed by the government

in the parties’ discussions.

                                                     Respectfully submitted,



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                                                     JEFFREY McKELLOP
                                                     By Counsel
                                                     _____/s/____________
                                                     John C. Kiyonaga

                                                     600 Cameron Street
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 739-0009
                                                     Facsimile: (703) 340-1642
                                                     E-mail: john@johnckiyonaga.com

                                                     Counsel for the Defendant



                                Certificate of Electronic Service

       I hereby certify that on December 22, 2022, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF System, with consequent service on all parties
                                                    ____/s/_____________
                                                    John C. Kiyonaga




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